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             NOTICE REGARDING RESET OF MEETINGS OF CREDITORS
                    TELEPHONIC MEETINGS OF CREDITORS
                              (March 25, 2020)
    THIS NOTICE APPLIES ONLY TO MEETINGS OF CREDITORS HELD BY THE UNITED STATES TRUSTEE OFFICE AND CASE
  TRUSTEES, AS INDICATED IN THE INITIAL NOTICE OF BANKRUPTCY CASE OR ANY NOTICE CONTINUING THE SAME. FOR ALL
 OTHER SCHEDULED HEARINGS BEFORE A BANKRUPTCY JUDGE, PLEASE CONSULT www.scb.uscourts.gov/coronavirus-info OR
                                  ANY OTHER RELEVANT NOTICE PROVIDED TO YOU.


FROM: United States Trustee Office – Columbia Field Office
TO: Counsel, creditors, pro se debtors, and parties in interest
DATE: March 25, 2020
RE: Telephonic meeting of creditors effective March 23, 2020 – response to
   COVID-19 pandemic

       Effective March 23, 2020, and until further notice, all meetings of creditors in all
bankruptcy chapters will be held telephonically on the date and at the time noticed in each case.
No in-person meetings will be held. Do not come to the physical location shown in the notice of
bankruptcy filing in each case.

        Call-in numbers to attend meetings of creditors with the assigned participant passcodes
are shown below for all trustees in the district. Additional supplemental instructions may be
provided by each trustee to counsel, pro se debtors, and, upon request to the case trustee, to
creditors and parties in interest desiring to attend meetings of creditors. In chapter 11 cases, the
United States Trustee will send out any additional information and respond to requests to attend
by creditors and parties in interest.

                                                                   Participant
 Trustee                      Number           Toll Free           Code
 Jimmy Wyman                    (203) 480-2363      (877) 486-6317         9903805
 Gretchen Holland               (203) 480-1116      (877) 985-8264         5092584
 Pamela Simmons-Beasley         (517) 477-2274      (877) 953-1486        4504409
 Kennan Stephenson              (517) 477-8826      (877) 985-7782        9233197
 Robert Anderson                (517) 477-8368      (877) 952-3034        3232014
 Janet Haigler                  (517) 477-6602      (888) 791-3450        6710937
 John Fort                      (517) 444-4994      (877) 951-5925         7553161
 Michelle Vieira                (517) 477-8322      (877) 985-8971         4754087
 Kevin Campbell                 (517) 477-7753      (877) 973-7790         5304498
 Kerk Spong                     (517) 477-6990      (866) 812-4190         8354661
 UST all chapter 11 cases        (517) 477-6833          (877) 605-6087              8839880

        Debtors’ counsel and their clients are not required to be at the same physical location of
counsel while a meeting is being conducted.

        The method of communicating information to parties by the trustees and by the United
States Trustee will be electronic to the extent possible using the email information found in each

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case. Debtors’ counsel is responsible for communicating the appropriate teleconference
information to their clients.

        Creditors and parties in interest desiring to attend a meeting of creditors should contact
the case trustee or, in a chapter 11 case, the United States Trustee using the contact information
below.

Chapter 7 Trustees                                            Chapter 13 Trustees

Robert F. Anderson                                            Gretchen Holland
bob@andersonlawfirm.net                                       Katherine@upstate13.com
(803) 252-8600                                                (864) 527-3765

Janet B. Haigler                                              Keenan Stephenson
jhaigler@haiglerlawfirm.com                                   dgoldberg@columbia13.com
(803) 261-9806                                                (803) 744-0201

Kevin Campbell                                                Pamela Simmons-Beasley
kcampbell@campbell-law-firm.com                               katherine@chapter13trustee.net
(843)-884-6874                                                (803) 779-5180, ext. 131

Michelle Vieira                                               James Wyman
trustee@chapter7.email                                        bumgarner@charleston13.com
(843) 497-9800                                                (843) 856-2404

John K. Fort
johnkfort@gmail.com
(864) 237-8284

Chapter 11                                                    Chapter 12 Trustee

United States Trustee (Columbia Field Office)                 Kerk Spong
USTPRegion04.CO.ECF@usdoj.gov                                 kspong@robinsongray.com
(803) 765-5250                                                (803) 227-1101

Debtor Identification Procedures Through Remote Meetings

        The requirement of proof of proper identification of debtors at meetings of creditors
remains unchanged. This requirement includes debtors’ counsel and pro se debtors emailing the
case trustee by a secure method imaged copies of a debtor’s photo identification and proof of
social security number at least two business day prior to the meeting of creditors. The trustee
may provide debtors’ counsel and pro se debtors with further specifics regarding how to furnish
this information.

        If this method of debtor identification proves unsatisfactory to the trustee or to the United
States Trustee, substitute proof of identification may be required using one of two alternative

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methods. Alternative method #1 entails a certification or declaration by a debtor’s counsel
confirming a debtor’s identity. Alternative method #2 involves furnishing a sworn identification
affidavit which requires a notary signature. Both the attorney certification/declaration form or
the affidavit form may be obtained from the case trustee or the United States Trustee. Both
alternative methods described for debtor identification must be completed and furnished to the
trustee two business days prior to the meeting of creditors.

Phone Etiquette Guidelines

The following video/phone etiquette guidelines will be required of all parties participating in
telephonic meetings of creditors:

a. Mute the call/audio while your meeting is not being held.

b. Limit all background noise while your meeting is being held.

c. No speaker phone should be used unless two or more persons are appearing on the same line,
i.e., debtor and counsel or joint-filing debtors.

d. Debtors and counsel are to be at a set location, and not in transit, so that full attention can be
given to the questions being asked.

e. Only debtors and their counsel as well as creditors or interested parties will be allowed on the
connection, i.e., no “moral support,” “coaching,” or supplementary answers are to be provided
by friends or family during the call.

f. Any telephonic appearances by debtors without their counsel also present on the conference
call at the appointed time will result in a continuance. After two failed attempts, the trustee may
seek the dismissal of the case.

g. Attorney for the debtor(s) should share invitation information for participation in the
teleconferencing 341 meetings with debtors and any creditors wishing to participate in the
meeting.

h. All parties attending meetings of creditors shall call just prior to the designated meeting time
or as otherwise instructed by the trustee assigned to the case, or in chapter 11 cases, by the
United States Trustee. Parties should disconnect from the call after the meeting attended is
concluded.

i. No recordings of the phone conference may be made by any party other than the trustee,
United States Trustee, or a certified court reporter who has the express written permission of the
trustee or United States Trustee to record the meeting.




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**The temporary policies and procedures in this document do not otherwise affect a debtor’s
requirement to submit and provide all other necessary documents to the Court and to the trustee
or United States Trustee. Also, these procedures are subject to change due to the dynamics of the
present circumstances.


                                     JOHN P. FITZGERALD, III
                                     Acting United States Trustee
                                     Region Four


                                     By: /s/ John T. Stack
                                     John T. Stack
                                     Assistant United States Trustee
                                     Department of Justice
                                     Dist. Ct. Atty. I.D. No. 4272
                                     1835 Assembly Street, Ste. 953
                                     Columbia, SC 29201
                                     (803) 765-5250
                                     John.T.Stack@usdoj.gov




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